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                                                              August 19, 2021

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, NY 10007

         Re: United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

       Pursuant to the Court’s order, dated August 13, 2021, we respectfully submit this letter to
inform the Court that Ms. Maxwell does not seek any redactions to the Court’s sealed Opinion and
Order, dated August 13, 2021, or the underlying motion papers.

        We note that, under the terms of the Protective Order entered in this case, defense counsel
are prohibited from “filing publicly as an attachment to a filing or excerpted within a filing the
identity of any victims or witnesses referenced in the discovery, who have not spoken by name on
the public record in this case.” (Dkt. 36 ¶ 6). The underlying motion papers reference the names
of accusers and potential witnesses who have spoken on the public record in this case and others
who have spoken publicly but not associated themselves directly with this case. The Court has
ruled that the existence of the Protective Order, by itself, is not sufficient to justify redactions, and
that any redactions must be justified under the three-part test articulated by the Second Circuit in
Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110 (2d Cir. 2006).

        The defense has consistently taken the position that the names of the accusers and other
witnesses who have chosen to speak to the media about their alleged experiences, including
regarding the very materials sought by the subpoena, should be publicly disclosed and that it is not
the defense’s burden to justify redacting their names. Accordingly, the defense does not seek any
redactions. If the government wishes to seek any redactions, we respectfully submit that it is their
burden – not Ms. Maxwell’s – to justify them under Lugosch.
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         The exhibits to the motion also attach documents that were obtained independent of the
  criminal discovery. We submit that it is the government’s burden to justify any redactions to these
  documents under Lugosch. 1

                                                                       Sincerely,


                                                                         /s/ Christian Everdell
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  cc:     All Counsel of Record (By ECF)




  1
   Page 20 of Exhibit 1 to the motion appears to contain personal email addresses of one of the accusers and another
  person. The defense has no objection to redacting these email addresses.
